      Case 1:17-cv-11174-TLL-PTM ECF No. 48 filed 09/26/18                             PageID.869            Page 1 of 8


(Rev 7/21/2017)                       UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                           NORTHERN DIVISION

MRP PROPERTIES COMPANY, LLC,

                  Plaintiff(s),
                                                                            Case Number 17-cv-11174-BC
v.
                                                                            Honorable Thomas L. Ludington
THE UNITED STATES OF AMERICA, et al.,

                  Defendant(s).
                                                           /


                       CASE MANAGEMENT AND SCHEDULING ORDER

       Case Management and Scheduling Order for Phase One:



                                  YOU WILL RECEIVE NO FURTHER NOTICE OF THESE DATES

                        Initial Disclosures Exchanged By:                                October 29, 2018
                        Fact Discovery Cutoff:                                               June 28, 2019
                        Expert Disclosure, plaintiff Filed By:                               July 29, 2019
                        Expert Disclosure, defendant Filed By:                             August 28, 2019
                        Rule 26(a)(3)(B) Disclosures Filed By:                   To Be Determined (TBD)
                        Status Conference re: Discovery                          April 24, 2019 at 2:00 pm
                        Discovery Cutoff:                                                October 28, 2019
                        Settlement Conference:                                                TBD at TBD
                        Motions Challenging Experts Filed By:                           December 9, 2019
                        Dispositive Motions Filed By:                                     January 24, 2020
                        Motions in limine Filed By:                                                   TBD
                        Pretrial Submissions By:                                                      TBD
                        Final Pretrial Conference:                                            TBD at TBD
                        Trial Date:                                                          TBD at TBD.

                                                           Non Jury Trial

                                Detailed information contained in body of order. Read Carefully:
                             SOME DEADLINES MAY BE SHORTER than Local Rules would allow.



I.          Computation of time under this order and under any notice of any scheduling order or notice in
            this cause shall be in conformity and accordance with Fed. R. Civ. P. 6(a).

II.         DISCOVERY.

            A. Discovery Plans. The Court encourages Rule 26 discovery plans agreeable to all parties
               provided that the plan contemplates prompt organization of the case. Disclosure required
   Case 1:17-cv-11174-TLL-PTM ECF No. 48 filed 09/26/18                 PageID.870       Page 2 of 8


                                                                                     Scheduling Order / Page 2



          by Fed. R. Civ. P. 26(a)(1)(A), (B) and (C) shall be served on opposing counsel, but not
          filed with the Clerk, on or before October 29, 2018.

       B. Initial Disclosures. Disclosure of information regarding expert witnesses required by Fed.
          R. Civ. P. 26(a)(2) shall be made as follows: disclosure of an expert witness’s identity under
          Rule 26(a)(2)(A) shall be made within three (3) business days of the expert’s retention;
          other disclosures under Rule 26(a)(2)(B) and (C) shall be served on opposing counsel, but
          not filed with the Clerk, by plaintiff on or before July 29, 2019 and by defendant on or
          before August 28, 2019.

       C. Limitations on Filing Discovery. The parties are reminded that Fed. R. Civ. P. 5(d)
          and E.D. Mich. LR 26.2 prohibit the filing with the clerk depositions, interrogatories,
          requests for the production of documents, requests for admission, responses to such
          discovery material, and certificates of service except as provided for in Local Rule 26.2.
          Additionally, disclosures under Rule 26(a)(1) and (2), the corresponding discovery
          requests and responses must not be filed with the Clerk until they are used in the
          proceedings or the Court orders them to be filed pursuant to Local Rule 26.2. See Fed.
          R. Civ. P. 5(d).

       D. Rule 16(a)3(B) Trial Disclosures. A list in the form required by Fed. R. Civ. P. 26(a)(3)(A)
          and (B) of the lay and expert witnesses whom a party may call to testify along with counsel’s
          estimate of the time needed for direct examination at trial shall be filed with the Clerk and
          served on opposing counsel on or before To Be Determined (TBD). Under Fed. R. Civ. P.
          26(a)(3)(B) these disclosures are to be made at least 30 days before trial. Pursuant to this
          Order they are not to be made prior to the close of discovery. Note that these disclosures are
          different from those made under Fed. R. Civ. P. 26(a)(1)(A), (B), and (C).

       E. Discovery Cutoff. Discovery shall be completed on or before October 28, 2019. This
          Court will not order supplemental discovery to take place subsequent to the discovery cutoff
          date, but will reach the merits of discovery motions, including motions to compel, filed
          before the cutoff date. Discovery may be extended both before and after the discovery
          cutoff date by agreement of the parties if the extension of time does not affect the motion
          cutoff, final pretrial conference, or trial dates. Typically, the dispositive motion cutoff date
          must be at least 90 days before the final pretrial conference to ensure any motions are
          resolved at least ten days before the final pretrial conference. See E.D. Mich. L.R. 16.1(f).

       F. Discovery motions may be referred to the magistrate judge. Once a motion has been
          referred, all communication regarding that motion should be directed to the magistrate
          judge’s chambers.

III.   MOTIONS CHALLENGING EXPERT WITNESSES.

       A. The deadline for filing motions challenging the admissibility of expert witness testimony
          pursuant to Fed. R. Evid. 702, 703 or 705 is December 9, 2019.
  Case 1:17-cv-11174-TLL-PTM ECF No. 48 filed 09/26/18                   PageID.871       Page 3 of 8


                                                                                     Scheduling Order / Page 3




      B. All such motions should include specific references to the witness’s deposition and to all
         other record material needed to establish the foundation for the motion. The full text of any
         unpublished source cited should be filed with the Court as an appendix. The appendix shall
         contain an index. As to cited deposition testimony, counsel must supply the Court with a
         transcript of cited page(s) together with the pages immediately adjacent to the cited material.
         If more than five pages are cited, or if the deposition is particularly relevant for adjudication,
         the entire deposition transcript should be included. When applicable, specific references in
         cited material should be underlined or highlighted. All citations must have page references.

IV.   DISPOSITIVE MOTIONS. Dispositive motions shall be filed on or before January 24, 2020.
      No party may file more than one motion for summary judgment or motion to dismiss without
      obtaining leave of court. Challenges to multiple counts of a complaint shall be brought in a
      single motion. When filing dispositive motions, parties shall proceed in accordance with the
      following:

      A. The parties are encouraged to clearly identify the type of motion being filed. The Federal
         Rules governing motions to dismiss and motions for summary judgment are not
         interchangeable.

      B. Facts stated in the statement of material facts must be supported with citations to either the
         pleadings, interrogatories, admissions, depositions, affidavits, or documentary exhibits.
         Counsel should submit the cited pages of deposition transcripts along with the pages
         immediately adjacent to the cited material. If more than five pages are cited, or if the
         deposition is particularly relevant for adjudication, the entire deposition transcript should
         be included. When applicable, specific references in cited material should be underlined or
         highlighted. The full text of any unpublished source, including unpublished opinions or
         opinions published only in a specialty reporter, should also be included as exhibits. There
         must be an index of the exhibits.

      C. The Court Clerk will send out a notice of the hearing date. The Court does not issue a
         briefing schedule. The Court enforces the response and reply due dates as set forth in L.R.
         7.1(e) and Fed. R. Civ. P. 6, even when the motion hearing is set in advance of the
         completion of briefing.

      D. One “courtesy” or “chambers” copy of all dispositive motion papers, as defined in E.D.
         Mich. LR 7.1(e)(1)(A), (including responses and replies) and all accompanying exhibits
         must be submitted directly to the judge’s chambers. Exhibits must have labels attached
         which extend beyond the right side of the paper. All papers must be firmly bound along the
         left margin (“book-style”) with binding combs, zip-band binding spines or wire binding
         spines is preferred. Courtesy copies that do not comply with formatting requirements,
         including exhibit tabs and book-style binding, will be returned for reformatting before they
         will be considered.
     Case 1:17-cv-11174-TLL-PTM ECF No. 48 filed 09/26/18                 PageID.872      Page 4 of 8


                                                                                      Scheduling Order / Page 4




         E. The chambers copy must be sent via first class mail the same day the document is e-filed,
            unless it relates to a court proceeding scheduled within the next five days or otherwise
            requires the immediate attention of the Court, in which case the chambers copy must be
            hand-delivered to chambers not later than the morning of the next business day after the
            document is e-filed.

V.       MOTIONS IN LIMINE must be filed by TBD. It is the intention of the Court that all motions
         in limine and responses shall be received by the final pretrial conference date, therefore counsel
         must strictly adhere to the deadlines set forth in L.R. 7.1(d)(2). Counsel should be prepared to
         address motions in limine at the final pretrial conference.

VI.      MOTION PRACTICE AND ORAL ARGUMENT.

         A. General Practice. Motions shall be clear and succinct. Briefs in support of motions must
            conform to the requirements of L.R. 7.1(d), and, in addition, shall contain a concise
            statement of facts supported by references to the record. If a brief is submitted separately
            from the motion or response, see L.R. 7.1.(d)(1)(A), detailed legal argumentation and
            factual summaries should be reserved for the brief and should not be included in the text of
            the motion or response.

         B. Courtesy Copies. A courtesy copy of nondispositive motion papers (including any
            responses and replies) that contain extensive exhibits totaling more than 50 pages, a
            courtesy copy should be submitted directly to judge’s chambers. Exhibits must have labels
            attached which extend beyond the right side of the paper. All papers must be firmly bound
            along the left margin (“book-style”) with binding combs, zip-band binding spines or wire
            binding spines are preferred. Courtesy copies that do not comply with formatting
            requirements, including exhibit tabs and book-style binding, will be returned for
            reformatting before they will be considered.

         C. Motion Hearings. The Court Clerk will send out a notice of the hearing date. The Court
            does not issue a briefing schedule. Responses and replies shall be filed according to the
            schedule set forth in L.R. 7.1(e) and Fed. R. Civ. P. 6. The Court will cancel oral argument
            if, after a review of the briefs, the Court finds that argument would be neither necessary nor
            helpful.

         D. Prohibition on Embedded Motions. Motions may not be included within or appended to a
            response or a reply, and under no circumstances may a motion be included within the text
            or footnotes of another motion. See L.R. 7.1(d)(1).

VII.     E-FILING.

         A. All attorneys should become familiar with the CM/ECF Policies and Procedures, which can
            found as an Appendix to the Local Rules.
   Case 1:17-cv-11174-TLL-PTM ECF No. 48 filed 09/26/18                  PageID.873      Page 5 of 8


                                                                                     Scheduling Order / Page 5




        B. An order to show cause why an attorney should be excused from mandatory electronic filing
           will issue against any attorney who disregards registering as a user of this District’s
           electronic document filing system.

        C. Please note that Federal Rule of Civil Procedure 5.2 requires the parties to redact certain
           information, including social-security numbers and birth dates, from electronically filed
           papers. It is the parties’ responsibility to maintain compliance with this rule and neither the
           Clerk’s Office nor the Court reviews papers to ensure personal information has not been
           made public.

        D. Note that the Local Rules distinguish between submitting and filing documents. Documents
           that are to be submitted must be furnished to the Court through the Utilities function of
           CM/ECF. Documents that are to be filed must be entered on the docket. Documents
           improperly filed on the docket will be stricken.

VIII.   ALTERNATIVE DISPUTE RESOLUTION.

        A. Case Evaluation. If the parties opt to participate in case evaluation pursuant to Michigan
           Court Rule 2.403, a stipulation for case evaluation should be submitted to the Court.
           Stipulations must state that the parties agree to be bound by all of the provisions of Mich.
           Ct. R. 2.403, including the provisions regarding sanctions. It is the responsibility of the
           attorneys to make sure that case evaluation is completed before the final pretrial conference.

        B. Facilitation. Facilitative mediation is a very effective method for case resolution and
           strongly encouraged. An experienced facilitator should be employed. This process can be
           used at any time during the litigation, but is most beneficial after the majority of the
           discovery is completed and before dispositive motions are filed. The parties may arrange
           for facilitation without contacting chambers. Alternatively, Judge Ludington encourages
           facilitation with the Magistrate Judges.

IX.     SETTLEMENT CONFERENCE: The settlement conference is set for TBD at TBD.

        A. Judge Ludington’s practice is to focus on the law applicable to the case and what counsel
           have learned about the facts in dispute during discovery. The parties will then be
           encouraged to assess the probability of different results and the associated economic
           implications. Negotiations will be encouraged, but Judge Ludington does not meet with
           either party without the opposing party present.

        B. Persons Required to Attend. The following person and entities shall personally attend the
           settlement conference:

            1. Trial counsel for each party;
     Case 1:17-cv-11174-TLL-PTM ECF No. 48 filed 09/26/18                  PageID.874        Page 6 of 8




             2. All parties who are natural persons;

             3. A representative on behalf of any other party;

             4. A representative of any insurance carrier which has undertaken the prosecution or
                defense of the case and has contractually reserved to itself the ability to settle the action.

         C. Representatives must possess full authority to engage in settlement discussions and to agree
            upon a full and final settlement.

X.       FINAL PRETRIAL CONFERENCE. The final pretrial conference shall take place on TBD at
         TBD. Trial counsel for each party must attend. The following is the procedure counsel are to
         utilize to prepare for the final pretrial conference:

         A. Meet and Confer. Counsel for all parties are directed to confer in order to (1) reach any
            possible stipulations narrowing the issues of law and fact and (2) coordinate the
            identification of documents that will be offered in evidence at the trial. It shall be the duty
            of counsel for plaintiff to initiate that meeting and the duty of other counsel to respond to
            plaintiff’s counsel and to offer their full cooperation and assistance.

         B. Proposed Joint Jury Instructions. The parties are to provide to chambers a single set of
            proposed jury instructions at least one week before the Final Pretrial Conference. The
            proposed jury instructions should reflect both the instructions that the parties agree on and
            the instructions that they do not, with alternative instructions and supporting legal authority.
            Each instruction shall contain references to authority (e.g., “Devitt and Blackmar, Section
            11.08”). Counsel are also to propose a summary of claims and a summary of defenses, and
            counsel are responsible for all instructions related to their specific claims or defenses. The
            proposed jury instructions shall be submitted to chambers before the close of business.

         C. Other Pretrial Matters.

             1. At least ONE WEEK prior to the final pretrial conference all counsel shall furnish to
                the court the following in proper form:

                 i. In jury cases, any requests for VOIR DIRE shall be submitted through the utilities
                    function of CM/ECF.

                 ii. A statement of claims or defenses, no longer than two pages, suitable to be read to
                     the jury during opening instructions shall be submitted through the utilities function
                     of CM/ECF.

                 iii. In non-jury cases, proposed FINDINGS OF FACT and CONCLUSIONS OF LAW
                      shall be submitted through the utilities function of CM/ECF and trial briefs shall be
                      filed on the docket.



                                                                                           Scheduling Order / Page 6
  Case 1:17-cv-11174-TLL-PTM ECF No. 48 filed 09/26/18                   PageID.875       Page 7 of 8




             2. If there are any disputes requiring determination in advance of trial,1 they should
                specifically be called to the Court’s attention no later than the date of submission of the
                final pretrial order.

             3. Requests for adjournment of the final pretrial conference should be made in accordance
                with section XIII of this Order.

XI.      TRIAL. Trial shall commence on TBD at 8:30 a.m.

XII.     EXHIBITS DURING TRIAL.

         A. Use of electronic exhibits at trial is strongly suggested. Any party intending to use
            electronic aids to display evidence at trial shall disclose that intention to the Court and all
            other parties at or before the final pretrial conference. The parties are encouraged to contact
            the Court’s information technology consultant, Jason Owen, if they plan on using electronic
            exhibits. Mr. Owen can be reached at 810-341-7430. The Court requires full disclosure to
            opposing counsel of computer-generated visual or animated evidence and full disclosure of
            underlying data.

         B. One week prior to trial counsel shall submit an exhibit list. Counsel are required to mark all
            proposed hard-copy exhibits in advance of trial; any clearly marked method is acceptable.
            A consecutive numbering system should be used by each party. Numbers used by one
            party shall not be used by other parties. Two copies of exhibit binders should be provided
            to the Court on the first day of trial. If exhibits are voluminous, exhibits used for each
            witness should be bound separately.

         C. Counsel are required to keep track of all admitted exhibits during trial. Counsel must confer
            and consolidate copies of all exhibits admitted during the course of trial into a single binder
            or folder. Such exhibits should be ready to be turned over to the jury foreperson prior to
            closing jury instructions so that jury deliberations are not delayed.

         D. It is the responsibility of the parties to see that the record is complete at the conclusion of
            trial in accordance with the Local Rules.

XIII.    SCHEDULING ORDER CHANGES.

         All requests for extension of time or modification of the scheduling order shall be made in
         writing to the Court setting forth good cause, see Fed. R. Civ. P. 16(b), in a (1) stipulation by
         the parties with a proposed order or (2) motion that states that concurrence was sought and
         refused. The Court will consider the persuasiveness of the reasons for the extension and the
         overall reasonableness of the request, including its effect on the other dates in the scheduling
         order.

   1
        This includes motions in limine, disputes over specific jury instructions or the admissibility of
any evidence at trial upon which the parties desire to present authorities and argument to the Court.

                                                                                        Scheduling Order / Page 7
  Case 1:17-cv-11174-TLL-PTM ECF No. 48 filed 09/26/18                                       PageID.876     Page 8 of 8




XIV.    ATTORNEY ADMISSIONS.

        Local Rule 83.20 governs attorney admissions and outlines requirements for the admission of
        out-of-state counsel who wish to practice in this District. All inquiries regarding admission to
        the Eastern District must be directed to the Clerk’s Office at (989) 894-8800.

XV.     PROTECTIVE ORDERS AND FILING UNDER SEAL.

        A. The rules for entry of a protective order and filing documents or other information under
           seal are distinct. Compare E.D. Mich. L.R. 26.4 with E.D. Mich. L.R. 5.3.

        B. Protective orders should generally be submitted by stipulation, and cover information the
           parties agree is confidential or privileged. However, a stipulated protective order will not
           be entered if it requires that information covered by the order be filed under seal. Each
           document or exhibit that a party wishes to file under seal will be reviewed independently
           pursuant to the standards of Local Rule 5.3.


                                                                    s/Thomas L. Ludington
                                                                    THOMAS L. LUDINGTON
                                                                    United States District Judge

Dated: September 26, 2018


                                                  PROOF OF SERVICE

                          The undersigned certifies that a copy of the foregoing order was served
                          upon each attorney or party of record herein by electronic means or first
                          class U.S. mail on September 26, 2018.

                                                            s/Kelly Winslow

                                                            KELLY WINSLOW, Case Manager




                                                                                                          Scheduling Order / Page 8
